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                                        United States District Court
ORIGINAL                                      NORTHERN DISTRICT OF GEORGIA
                                                                                                                JUL 0 3 2006
                                                                                                        L'HR.R A . THOMAS, CLERK
UNITED STATES OF AMERICA                                                                                              Deputy Clef~.
                            V.
                                                                                     CRIMINAL CO LAINT

IbTah1TT1 Dimson
                                                                            CASE NUMBER : 1 :06-M7-81$
Joya Williams
Edmund Duhaney
                                                                                1A nw-c e d 7 . 5
   (Name and Address of Defrndant)




I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief, On
or about July 3, 2006 in Fulton County, in the Northern District of Georgia defendant(s) did, Track Statutory Language of offense)

knowingly and unlawfully obtain trade secrets from the Coca Cola Company ("Coca Cola ") with the intent to convert them to their
economi c benefit ; and . having devised a scheme to defraud , caused to be transmitted by means of wire communications in interstate
commerce a writing for the purpose of executing such scheme .


                                                                                                      ~}   A1D 1DE "


                                                                                             jelY '                  ~ _~~ ~,

in violat ion of Title 18 United States Code , Section(s) 1832 and 1343 .

I further state that I am a(n) Specia l Agent and that this complaint is based on the following facts :

SEE ATTACHED AFFIDAVIT




Continued on the attached sheet and made a part hereof.                     ( X) Yes ( )




                                                                                 ,ire of Comp lainant
                                                                                 Kirschbaum

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has been committed and that
the defendant has committed it . Sworn to before me, and subscribed in my presence


 July                            3,   2006           at            Atlanta
 Date                                                              City and State


 Joel M . Feldman
 United States Magistrate Judge
 Name and Title of Judicial Officer
                                                                                    ly<~
                                                                              of Judicial Officer
                                                                                                                -.

 AUSA Randy S . Chartash
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                                  AFFIDAVIT

          I, Lee C . Kirschbaum, being duly sworn, hereby depose and

                             state as follows :



      1 . I am a Special Agent with the Federal Bureau of

Investigation ("FBI,) and have been so employed for over three

years .

      2 . In the past three years, - I have primarily investigated

financial cr imes and fraud in the performance of my duties as a

member of a Wh i te Collar Crime Squad .

      3 . My experience as an FBI agent, as well as the experiences

of other White Collar Crime Squad investigators, has provided me

insight into the methods and materials commonly util i zed to commit

financial cr imes .

      4 . The facts set forth in this affidavit are based on my own

personal knowledge, knowledge obtained from other individuals

during my participation in this investigation, including other law

enforcement officers, my review of documents and computer records

related to this investigation, communications with others who have

personal knowledge of the events and circumstances described

herein, and information gained through my training and experience .

Since this affidavit is submitted for the limited purpose of

establishing probable cause in support of the application for a

search warrant, it does not set forth each and every fact that I or



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others have learned during the course of this investigation .

     5 . As set forth more fully below, there is probable cause to

believe that JOYA WILLIAMS, IBRAHIM DIMSON, and EDMUND DUHANEY

knowingly and unlawfully obtained trade secrets from The Coca Cola

Company ("Coca Cola") with intent to convert them to their economic

benefit, inn violation of 18 U .S .C . § 1832, and, having devised a

scheme to defraud, caused to be transmitted by means of wire

communications in interstate commerce a writing for the purpose of

executing such scheme, in violation of 18 U .S .C .     9   1343 .




     6 . The term "email" is short for electronic message, the

transmission of messages over electronic communications . When an

individuall computer user sends an email message, the process is

initiated at the user's computer, transmitted to the subscriber's

mail server, then transmitted to its final destination .

     7 . The term "Internet Protocol (IP) Address" refers to a

unique numeric address used to identify computers on the Internet .

Every computer connected to the Internet, or group of computers

using the same account to access the Internet, must be assigned an

IP address so that Internet traffic sent from and directed to that

computer is directed properly from its origination pointt              to its

dest inat ion . IP addresses are typically assigned by Internet

servi ce providers (ASP), - such as AOL, Earthl i nk or cable companies .

The ISP may assign a different IP address to a customer each time


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the customer establishes an Internet connection referred to as

"dynamic IP addressing" or the ISP may assign a permanent IP

address to a customer referred to as "static IP addressing" .

Either way, the IP address used by a computer attached to the

Internet must be unique at a particular time . Typically, ISPs log

the connections made to the Internet by customer which means the

ISP can identify the customer assigned to a specific IP address at

a particular time and date .

                           THE INVESTIGATION

     8 . On May     1 9, 2006, Coca Cola, the world's leading

manufacturer, marketer, and distributor of non-alcoholic beverage

concentrates and syrups with their corporate headquarters in

Atlanta, Georgia, received a copy of a letter mailed to PepsiCo in

Purchase, New York in an official Coca Cola business envelope . The

letter was sent from an individual claiming to be employed at a

high level with Coca Cola offering "very detailed and confidential

information ." The letter, which was post-marked on May 08,            2006,

from the Bronx, New York, indicated that this exclusive offer was

only available for the next two weeks and the individual was

willing to provide proof of the information . The individual

provided the name °Dirk" with the telephone number (718) 772-66b5

to initiate contact .

     9 . On May 24, 2006, Coca Cola provided a copy of the

document to the Atlanta Office of the FBI with the explanation that



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the information outlined in the letter was considered highly

confidential .

     10 .   On May 25 , 2006,   Special Agent (SA )   Gerald A .   Reichard ,

acting in an undercover capacity, contacted the unidentified

individual by dialing the telephone number (718) 772-6665 . The

individual identified himself as "Dirk° and confirmed the letter

was sent by him to Purchase, New York . Dirk explained that he had

in his "possession" half of a box of Coca Cola documents, and that

he had unlimited access to additional information .

     11 . The individual provided the name "Dirk" with the

telephone number (718)    772-6665 to initiate contact . Information

from Sprint Corporate Security regarding this Nextel telephone

number listed the account billing name Baraka Dimson with the user

name of "Ibrahim 25 ." LEXIS-NEXIS searches listed the name

"Ibrahim Dimson" as a potential relative of Baraka Dimson .

     12 . Call records for Dirk's telephone number,        (718) 772-6665,

on May 8, 2006, the day the initial letter was sent to PepsiCo,

list multiple inbound and outbound telephone calls to and from

Atlanta, Georgia telephone numbers, including telephone numbers

(404) 438-0047 for EDMUND DLIHANEY and (770) 912-1726 for JOYA

WILLIAMS, a Coca Cola employee .

     13 . Call records for Dirk's telephone on May 25, 2006 after

the initial conversation with SA Reichard at 8 :53 PM, listed

outbound calls to EDMUND DUHANEY, (404) 438-0047, at 9 :10 PM with



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a duration of over three minutes, at 9 :56 PM with a duration over

one minute, and at 10 :59 PM with a duration over nine minutes .

Additionally, call records listed outbound calls to JOYA WILLIAMS,

(770)     912-1726, an employee at Coca Cola, at 10 :23 PM with a

duration of over fifteen minutes and at 10 :41 PM with a duration of

over seventeen minutes .

        14 . JOYA WILLIAMS was identified as a current employee at

Coca Cola, as an Executive Administrative Assistant . Corporate

Security at Coca Cola informed the FBI that JOYA WILLIAMS as an

Executive Administrative Assistant had access to information and

materials described by Dirk .

        1 5 . On May 26, 2006, SA Reichard received fourteen pages of

information with the Coca Cola logo marked "Classified -

Confidential" and "CLASSIFIED - Highly Restricted'"- from Dirk .

        16 .   On May 26, 2006, Coca Cola was provided copies of the

documents . Coca Cola confirmed that these documents were valid and

highly confidential and were considered highly classified

proprietary information . Coca Cola further explained the documents

were only available to a limited number of employees . Coca Cola

further explained that it takes reasonable measures to keep secret

its confidential information, including maintaining limited numbers



     1 Further description of the items received and offered has
not been included in the affidavit due to confidentiality of the
information . Coca Cola has explained that the disclosure and
release of the sensitive information would have an adverse
financial impact .

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of the documents, and that the documents themselves have

independent economic value .

     17 . On May 30, 2006, SA Reichard received eleven faxes with

fourteen pages of information from Dark . The information provided

by Dirk included documents marked highly confidential from a new

Coca Cola project dated May 12, 2006 .

     18 . On May 30, 2006, SA Reichard contacted Dirk by telephone .

Dirk provided the email account POWERBLOCK2 0 0 5 @YAHOO .COM for

correspondence related to the sale of information . Dirk also

requested $10,000 for the documents sent as proof and as good faith

money for additionall purchases . Dirk provided the name ZBRAHIM

DIMSON on a Bank of America bank account to be used for the $10, oaa

payment . Information received from Bank of America revealed that

the account specified was listed in the name of IBRAHIM DIMSON

     19 . Information from an Internet search listed the name

IBRAHIM DIMSON with the telephone number          (718)   772-6665, and the

email address "ibrahimdimson@optonline .net", as the administrative

contact for a website domain "b].ackmuslimlounge .com" .

     20 . On May 3 1 , 2006, Coca Cola was provided copies of the

documents received by Dirk on May 30, 2006 . Coca Cola confirmed

that these documents were valid trade secrets of Coca Cola and

highly confidential .

     21 . On June 2, 2006, SA Reichard sent an email message to

Dirk .   Dirk     responded         from     the     email      account



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POWERBLOCK2005@YAHOO .COM . The following information was obtained

from the email message :

            Date : Fri, 2 Jun 2006
            From : "Ibrahim D" <powerblock2005@yahoo .com>
            I must see some type of seriousness on there
            part, if I'm to maintain the faith to continue
            with you guys, or if I need to look towards
            another entity that will be interested in a
            relationship with me .

            I have the capability of obtaining information
            per request . All you need do is tell me
            what you I re interested in and I will let you
            know if I have it or can get it and how long
            it
            will take .
            I have information that's all Classified and
            extremely confidential, that only a handful
            of the top execs at my company have seen . I
            can even provide actual products and
            packaging of certain products, that no eye has
            seen, outside of maybe 5 top execs .
            I need to know today, if I have a serious
            partner or not . If the good faith Moneys is in
            my
            account by Monday, that will be an indication
            of your seriousness . Please wire $9000 .
            instead of the previously mentioned $10,000 .

            After you receive the Fax, tell me when and
            how you want me to send the info and Ill let
            you know what it' 11 cost for that information,
            and we can move on from there .

            I hope to hear from you soon .
            Dirk

      22 . On June     6,   2006, SA Reichard received two additional

faxes of documentation from Dirk . SA Reichard confirmed the

receipt of the information by sending an email message to

POWERBLOCK2005 (3 YAHOO . COM .

      23 . On June 7, 2006, Coca Cola was provided copies of the


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documents . Coca Cola confirmed that these documents were valid

trade secrets of Coca Cola and highly confidential .

      24 . On June 8,    2006, SA Reichard contacted Dirk by telephone

at   (718)   772-6665 . Dirk agreed to the amount of $5,000 for the

documents received as proof and as good faith money for additional

purchases . Dirk agreed to an amount of $75,000 for the purchase of

a highly confidential product sample from a new Coca Cola project .

Dirk agreed to the sum of $30,000 in United States currency being

provided at the time of the transaction with an additional $45,000

being provided after testing of the sample . Dirk provided

additional documentation by fax .

      25 . On June 9, 2006, Dirk, using the email account

POWERBLOCK2005@YAHOO .COM confirmed the wire transfer of the $5,000 .

The following information was obtained from the email message :

                  Date : Fri, 9 Jun 2006
                  From : "Ibrahim D" <powerblock2005@yahoo .com>

                  I received the wire earlier today .

                  Dirk

      26 . On June 10,    2006,   SA Reichard received an email message

from Dirk using the account POWERBLOCK2005@YAHOO .COM .                 The

following information was obtained from the email message .

                  Date : Sat, 10 Jun 2006
                  F r o m I b r              a   h   i   m   D"

             <powerblock2005Qyahoo .com>

                  and just to let you know, I have
             documents that are all extremely valuable to

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          the right group . Let me know what youre
          interested in and Ill let you know if I have
          it or can obtain it .

                Dirk

     27 . On June 12, 2006, at approximately 7 :30 PM, video

surveillance of JOYA WILLIAMS was conducted by Coca Cola . The

video footage shows JOYA WILLIAMS at her desk going through

multiple files looking for documents . After locating the

appropriate documents, JOYA WILLIAMS places and stuffs the papers

into her personal bag . In some cases, JOYA WILLIAMS stuffs papers

into what appears to be a plastic bag before placing the plastic

bag into her personal bag . Additionally, JOYA WILLIAMS was

observed holding a liquid container with a white label which

resembled the description of new Coca Cola product sample before

placing it into her personal bag .

     28 . On June 16, 2006, SA Reichard, acting in an undercover

capacity, met with Dirk at the Hart stield-Jackson international

Airport located in Atlanta, Georgia . According to SA Reichard,

Dirk's likeness matched that of the description and recent

photographic images of IBRAHIM DIMSON, which were provided to

Reichard on June 14, 2006 by DIMSON'S Probation Officer, Michael

Cox, in New York . While SA Reichard was talking to Dirk on

telephone number (7 1 8) 772-6665, SA Reichard observed Dirk talking

on his cellular telephone walking toward SA Reichard . During the

meeting, Dirk provided a brown Armani Exchange bag containing one



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manila envelope with documents marked highly confidential and one

glass bottle with a white label containing a liquid product sample .

SA Reichard paid Dirk     $30,000   in $100 and $50 bills of United

States currency contained within a yellow Girl Scout cookie box

with the agreement that after successful testing of the product

sample, an additional $45,000 would be paid .

     29 . At the conclusion of the meeting, Dirk exited the airport

and entered a silver Chrysler 300 automobile, registered to Armada

Vehicle Rental . Surveillance of the silver Chrysler 300 observed

the vehicle exit the airport and travel to the Quiktrip on

Riverdale near 1-285 . An individual matching the description of

EDMUND DUHANEY was observed with the individual matching the

description of IBRAHIM DIMSON, a .k .a . Dirk . After getting fuel at

the Quiktrip, the Chrysler 300 with the two individuals were

observed traveling to the 4415 Wellington Terrace, Decatur,

Georgia, the residence of EDMUND DUHANEY .

     30 . Information provided by Michelle Eubanks, Senior United

States Probation Officer, verified the telephone number (404)

438-0047 and address of 4415 Wellington Terrace, Decatur, Georgia,

for EDMUND DUHANEY .

     31 . Call records for EDMUND DUHANEY's telephone number (404)

438-0047 on June 16, 2006, the day of the           $30,00.0   transaction

between SA Reichard and Dirk, list multiple inbound and outbound

calls to Dirk, (718) 772-6665, and to JOYA WILLIAMS, (770) 912-



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    1726 .

             32 . On June 16, 2006, Coca Cola was provided a portion of the

    product sample for testing . Coca Cola verified that the liquid was

    a valid product sample produced in The Coca Cola Company's pilot

    plant as part of a highly confidential new project .

             33 . On June 20, 2006, SA Reichard contacted Dark by telephone

    on (718) 772-6665 . Dirk explained that he had additional

    documentation to provide .

             34 . On June 21, 2006, SA Reichard received a four page fax

    from Dirk to include a copy of an email message from a Coca Cola

    executive's email account dated June 19, 2006 .

             35 .   On June 22, 2006, Coca Cola was provided copies of the

    documentation . Coca Cola verified that the documents were valid

    trade secrets of Coca Cola and confidential . Coca Cola verified

    that the printed email was located in JOYA WILLIAMS supervisor's

    email account and JOYA WILLIAMS printed three copies of a document

    with the same subject line as the email message on June 19, 2006 .

             36 . On June 22, 2006, Dirk provided a list of twenty items in

    his possession by email from the account FOWERBLOCK2005@YAHOO .COM .

             37 . On June 27, 2006, SA Reichard contacted Dirk by

    telephone . Dirk agreed to a price of           $1 .5 million for the items

    provided on his previous list . Dirk provided a Bank of America

    account number with the business name NOBLE HOUSE GROUP LLC for the

    wire transfer of funds .



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     38 . The Bank of America account provided by Dirk with the

business name NOBLE HOUSE GROUP LLC was opened on June           27, 2006

with the names TBR.AHIM DIMSON and EDMUND DUHANEY and the address

4415 Wellington Terrace, Decatur, Georgia listed for the account .

                                  CONCLUSION

     39 . Based upon the information above, I believe that there is

probable cause to believe that IBRAHIM DIMSON, JOYA WILLIAMS, and

EDMUND DUHANEY have knowingly and unlawfully obtained trade secrets

from The Coca Cola Company with intent to convert them to their

economic benefit, in violation of 18 U .S .C .      9   1832, and, having

devised a scheme to defraud, caused to be transmitted by means of

wire communications in interstate commerce a writing for the

purpose of executing such scheme, in violation of 18 U .S .C . § 1343 .




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